Case 5:17-cv-00083-C Document 47 Filed 09/07/17 Page 1 of 3 Page|D 580

lN THE UNlTED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION

LONNIE KADE WELSH, et al. )
)
Plaintiffs, )
)
v. )
)
TEXAS CIVIL COMMITMENT )
OFFICE, et al., )
)

Defendants. ) Civil Action No. 5 :17-CV-083-C

ORDER

Before the Court is a multitude of motions filed by the Defendants and the various
Plaintiffs to this removed civil action. The Court notes that Plaintiff Lonnie Welsh is apparently
attempting to represent all named Plaintiffs in this pro se action and that he has repeatedly filed
motions on behalf of the other Plaintiffs. Welsh is not a licensed attorney and is not authorized
to represent other individuals in federal court. Plaintiffs proceeding pro se also have no right to
bring a class action or consolidated action of individual claims. Thus, the Coul't finds that all
claims asserted by Plaintiffs William Scott, Freddie Schmidt, Carl Sn‘iith, Daniel Bocanegre, Jr.,
Curtis Adanis, Lorne Clarl<, Alorizo May, Danny Ellis, Robert Conway, and Joe OValle should
be, and are, DISMISSED WITHOUT PREJUDICE to refiling in individual causes of action
brought by each individual Plaintiff. If these Plaintiffs desire to file new lawsuits to pursue their
claims, they must file their own complaint and inust either pay the filing fee or file a motion to
proceed in forma pauperfs, which the Couit will review under 28 U.S.C. § 1915(e). Defeiidants’

Joint Motion to Sever, filed August 2, 2017, is DENIED AS MOOT given the Court’s decision

Case 5:17-cv-00083-C Document 47 Filed 09/07/17 Page 2 of 3 Page|D 581

that all Defendants other than Welsh should be dismissed from the above-styled and -nurnbered
civil action without prejudice to filing their own complaints

All pending motions filed by any of the now-dismissed Plaintiffs are DENIED AS
MOOT because these Plaintiffs are no longer parties to the above»styled and -numbered civil
action. All pending motions seeking the appointment of counsel are also DENIED. See Mallard
v. U.S. Dz`.s'i‘rz'ct Courtfor the Southern Dz'.s'trict aflowa, 490 U.S. 296 (1989) (holding that courts
are not authorized to make coercive appointments of counsel iri civil cases); Cupz`t v. Jones, 835
F.Zd 82 (Sth Cir. 1987) (holding that there is no right to automatic appointment of counsel in a
civil rights case); Ulmer v. Chancellor, 691 F.Zd 209 (Sth Cir. 1982) (holding that a trial court is
not required to appoint counsel for an indigent plaintiffs unless the case presents exceptional
circumstances).

Defendant Texas Civil Comrnitment Office’s (TCCO) Motion to Dismiss, filed
April 25, 2017, is GRANTED as to Plaintiff Welsh and DENIED WITHOUT PREJUDICE as
to the other currently-named Plaintiffs.l Defendant TCCO is entitled to sovereign immunity and
all claims asserted by Welsh against Defendant TCC() must therefore be DISMISSED for lack
of subject-matter jurisdiction Accordirigly, Defendant TCCO is terminated as a party to this
civil action. Defendants McLane, Greenwald, McCraw, Mercer, and Perez’s Motion to Dismiss,
filed April 28, 2017, is DENIED WITHOUT PREJUDICE to refiling as to any Plaintiff,
including Welsh. Defendants’ Motion to Strike and Response to Plaintiffs’ Motion to Strike,

filed August 2, 2017, is DENIED AS MOOT.

 

lDefendant TCCO may file motions to dismiss iii any new case filed by the other
currently-named Plaintiffs who are being dismissed by this Order.

2

Case 5:17-cv-OOO83-C Document 47 Filed 09/07/17 Page 3 of 3 Page|D 582

The Court finds that Plaintiffs’ Motion to Strike Defendants’ FRCP 12(b)(6), or
[Alternative] Motion for Leave to Amend, filed May 22, 2017, should be GRANTED IN PART
and DENIED IN PART. Specifically, Plaintiff Welsh’s request to file an amended pleading is
GRANTED and Plaintiff Welsh shall be given fourteen (14) days to file an amended
complaint addressing the deficiencies pointed out by Defendants’ Motions to Dismiss. The
Motion is DENIED in all other respects. Plaintiff Welsh’s amended pleading should advance
only his own claims against the Defendants Because the current complaint (petition) does not
conform to federal pleading requirements and includes claims raised on behalf of the other
currently-named Plaintiffs that have now been dismissed from this civil action, that pleading is
DISMISSED WITHOUT PREJUDICE sua sponte by the Court. Plaintiff Welsh is cautioned
that if he fails to file an amended complaint as instructed above, the Court will enter a final
judgment dismissing the above-styled and -numbered civil action without prejudice.

Finally, Plaintiff Welsh’s Motion to Reconsider State Law Claim of Medical Negligence,
iled June 27, 2017, is DENIED WITHOUT PREJUDICE for lack of subject-matter
jurisdiction2 All relief not expressly granted by this Order is DENIED.

so 0RDERED/

Dated this 2 day of September, 2017.

W”

 

\SAM ED STATES D T CT JUDGE

 

2In this Motion, Welsh seeks reconsideration of a prior ruling made by the state court
before this case was removed. This Court is without jurisdiction to reconsider, or hear an appeal
from, a state court order.

